This is an action by the superintendent of banks in charge of and acting for the Guaranty State Bank of Florence to recover a note and mortgage pledged by the bank to secure deposits of the town of Florence. A demurrer to the complaint was overruled by the trial court. The mortgage, being on farm lands outside of the county of Codington, is not within the *Page 501 
specified assets which a state bank is authorized to pledge. Section 8984, Rev. Code 1919, as amended by chapter 53, Laws 1927, and chapter 50, Laws 1933. The grounds urged for reversal by defendants have been considered and determined against their contentions by this court. Ruden v. City Platte, 62 S.D. 175,252 N.W. 32; Strain v. Potter County, 63 S.D. 24, 256 N.W. 147. In accordance with the views therein expressed the order appealed from is affirmed.
All the Judges concur, except POLLEY, J., absent and not sitting.